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                           UNITED STATES DISTRICT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )      Case No. 21-cr-00639-DLF
                                       )
ANTHONY SARGENT,                       )
                                       )
       Defendant.                      )


                          WITHDRAWAL OF COUNSEL

       Pursuant to Local Rule 44.5 of the Criminal Rules of Procedure for the Federal

District Court of the District of Columbia, John M. Pierce hereby respectfully

withdraws his appearance on behalf of Defendant Anthony Sargent in this matter.

Defendant will continue to be represented herein by William Shipley, Jr., Law Offices

of William L. Shipley.


       The undersigned submits that this withdrawal will not unnecessarily delay

trial of the case or be unfairly prejudicial to any party, or otherwise not be in the

interests of justice.


Date: November 15, 2022                Respectfully Submitted,



                                       John M. Pierce
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                                       3d Floor, PMB#172
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                          CERTIFICATE OF SERVICE

      I, John M. Pierce, hereby certify that on this day, November 15, 2022, I

caused a copy of the foregoing document to be served on all counsel through the

Court’s CM/ECF case filing system.



                                           /s/ John M. Pierce
                                      John M. Pierce
